

ORDER

PER CURIAM:
AND NOW, this 8th day of May, 2001, Kevin M. Howard having been suspended from the practice of law in the State of Delaware for a period of three years by Order of the Supreme Court of the State of Delaware dated November 9, 2000, the said Kevin M. Howard having been directed on January 22, 2001, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and upon consideration of the responses filed, it is
ORDERED that Kevin M. Howard is suspended from the practice of law in this Commonwealth for a period of three years, retroactive to the suspension imposed by this Court on October 19, 2000, at No. 600 Disciplinary Docket No. 3, and he shall comply with all the provisions of Rule 217, Pa. R.D.E.
